            Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF VERMONT

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       Docket No. 5:22-CR-49
                                               )
NATHAN CARMAN,                                 )
    Defendant.                                 )

                        OPPOSITION TO DEFENDANT’S MOTION
                       FOR RELEASE ON PRE-TRIAL CONDITIONS

       On May 2, 2022, a federal grand jury returned an indictment charging defendant Nathan

Carman with a variety of offenses involving the murders of his grandfather, John Chakalos, and

his mother, Linda Carman. Count Seven of the indictment specifically alleges the murder of

Linda Carman and carries a mandatory minimum sentence of life without parole. Carman was

arrested on May 10, 2022. On May 11, 2022, the government moved for Carman’s pretrial

detention. See Doc. 8. Initially, Carman did not oppose the government’s motion for detention,

and instead sought to defer any request for release. On May 16, 2022, the Court issued an order

of detention (see Doc. 19), noting that the government’s motion was unopposed. Carman has

now moved for pre-trial release (see Doc. 27), which the government opposes for the reasons

stated in its initial motion for detention as well as the reasons set forth below.

       The charges against Carman include a scheme in which he sought to defraud the estate of

his grandfather, its executor, the Chakalos Family Dynasty Trust, and its trustees. As a central

part of this scheme, Carman murdered both his grandfather and his mother, then concocted cover

stories to conceal his involvement in those killings. During the cover-up, Carman

misrepresented his involvement in and responsibility for those deaths to law enforcement, to his

family, to those who made inquiries about the deaths and their circumstances, and to others who

challenged his cover-up or challenged his rights to his grandfather’s assets.

                                                   1
            Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 2 of 12




       Carman’s motion for release fails to adequately address the risk of flight and similarly

fails to address his dangerousness. Moreover, the conditions of release he proposes would do

little to mitigate these concerns. Many of the claims made by Carman in support of his request

for release are misleading or mistaken. For the reasons set forth below, as well as those in the

government’s initial motion for detention, Carman poses a risk of flight; Carman poses a danger;

and there are no conditions of release which will mitigate either concern. Accordingly, the Court

should deny Carman’s motion for release.

                                          ARGUMENT

       I.       Carman Poses a Risk of Flight

       The Bail Reform Act does not require the government to show that Carman will actually

flee – rather, it asks whether the defendant poses a risk of flight. See 18 U.S.C. § 3142(f)(2)(A).

A finding of risk of flight must be supported by a preponderance of the evidence. See, e.g.,

United States v. Patriarca, 948 F.2d 789, 793 (1st Cir. 1991); United States v. Jackson, 823 F.2d

4, 5 (2d Cir. 1987); United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985). If the

government establishes a risk of flight, the Court must consider whether there are potential

conditions of release that will assure the appearance of the defendant. Id. at § 3142(f).

       As a preliminary matter, there are undisputed circumstances which establish, by a

preponderance of evidence, that Carman poses a risk of flight. He is charged with an offense

carrying a mandatory life sentence, and he has few connections that would encourage him to

remain in the United States. These undisputed circumstances alone demonstrate a risk of flight.

       Carman makes several false or misleading statements in an effort to counter the obvious

conclusion that he poses a risk of flight. For instance, Carman states that he “answered every

question put to him in the civil case regarding his alleged involvement in the murder.” Doc. 27,



                                                 2
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 3 of 12




at *12. Carman’s assertion misconstrues the record from his prior civil cases. In one deposition

alone, Carman declined to answer more than eighty questions, including numerous questions

about firearms, such as the Sig Sauer assault rifle he used to murder his grandfather. Carman’s

purported acquiescence cannot be squared with the record.

       Carman also suggests that he is not a risk of flight because he “spoke to law

enforcement.” Id. However, Carman’s conversations with law enforcement involved lies and

deception. During an interview immediately after the murder of John Chakalos, Carman stated

that he had not fired a gun “in years.” During a subsequent interview, Carman was asked if he

had purchased any firearms. In response, Carman acknolwedged that he had purchased a

shotgun after his grandfather was killed, but he specifically denied “any other purchases of

firearms.” However, records show that approximately six weeks prior to the murder of John

Chakalos, Carman purchased a Sig Sauer 716 .30 caliber rifle – the same caliber as the weapon

used in the killing of John Chakalos. Carman also declined to show the Windsor Police

Department the route he traveled when he purportedly got “lost” – in an area with which he was

quite familiar – during a one-hour period of time when his phone was turned off, foreclosing the

possibility that his location could be discerned from cell towers. Carman’s attempts to

characterize his prior statements – or lack thereof – as transparent and forthright should be

regarded as unpersuasive.

       Carman also suggests that he is not a risk of flight because he “spoke with the media.”

Id. However, Carman’s engagement with the media was cut short when questions were posed




                                                 3
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 4 of 12




which could implicate his guilt. 1 For example, Carman suddenly refused to continue answering

a question regarding Linda Carman’s disappearance:

       REPORTER: “[Linda Carman] was concerned about safety?”
       CARMAN: “That’s correct. It was not an argument. I was kind of
                  pestering my mom. She had always been kind of skittish.
                  We’re stopping right there with that question. We’re
                  stopping right there.”

On another occasion, Carman stood up and walked out of the interview:

       REPORTER: “Another thing that’s happened since we last got together –
                 police searched your mom’s home. Did you know anything
                 about that?”
       CARMAN: “Yeah, we’re done for this evening. Period. We’re done
                 here.”

       Carman additionally asserts that he always appears in court, stating that he was “forced to

defend himself” in connection with civil litigation. In fact, Carman’s civil case in the District of

Rhode Island was the result of Carman’s own insurance claim. Carman had a financial incentive

to appear not only in that case – where he was seeking a payout on his insurance claim – but also

in a New Hampshire probate case in which he sought to ensure that he would receive a portion of

his grandfather’s fortune. His appearance in each of those cases in fact furthered his fraudulent

scheme. Carman is now charged with multiple crimes, and he faces a mandatory life sentence.

Consequently, his incentives to appear in the instant case bear no relation to his incentives to

appear during his prior civil cases.

       Carman indicates that he has “solid ties to the community,” yet the letters of support he

submits come primarily from individuals who knew him only as a child. For example, Renee

Scarpantonio appears to have last seen Carman over a decade ago when he was only 15 or 16.




1
 See “Lost at Sea.” 20/20, Season 36, Episode 7. February 3, 2017. Available at:
https://abc.com/shows/2020/episode-guide/2017-02/03-020317-lost-at-sea
                                                 4
          Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 5 of 12




The fact that Ms. Scarpantonio never witnessed any outbursts suggests that she had little

visibility into Carman’s life and is therefore poorly positioned to opine on his dangerousness.

Similarly, aside from a coincidental encounter, Richard Sabato does not appear to have seen or

heard from Carman since he was a child. The relevance of Carman’s connection to a local

church is also questionable: during the execution of a federal search warrant at Carman’s

residence, investigators observed a copy of the Quran displayed prominently in Carman’s

bedroom. Contrary to Carman’s attempt to show otherwise, his lack of community ties weighs

heavily in favor of a finding that he is a risk of flight.

        Finally, the $10,000.00 found in Carman’s home is more than enough to fund his flight.

Carman could easily cross the Canadian or Mexican border with these funds. He also has

additional assets including his house, his truck, and new boats, and thus has the ability to raise

funds well beyond $10,000.00. Carman is alleged to have successfully evaded detection at sea,

and his new boats – including one named “Out Foxed” – could be used to escape the United

States and again evade authorities. Carman’s assertions in his motion for release fail to undercut

the conclusion that the evidence shows, by a preponderance, that he poses a risk of flight.

        II.     There is Compelling Evidence of Carman’s Guilt

        While some of the evidence against Carman is circumstantial, at trial the government

anticipates that the Court will instruct the jury that “…the law draws no distinction between

direct and circumstantial evidence in requiring the government to carry its burden of proof.”

United States v. MacPherson, 424 F.3d 183, 190 (2d Cir. 2005) (citing United States v. Glasser,

443 F.2d 994, 1006–07 (2d Cir. 1971). Furthermore, a verdict of guilty may be based entirely on

circumstantial evidence. Id. (citing United States v. Morgan, 385 F.3d 196, 204 (2d Cir. 2004).

In any event, there will be compelling evidence of guilt at any trial in this case, which weighs



                                                    5
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 6 of 12




heavily in favor of detention. The Court and Carman are familiar with this evidence from the

affidavit in support of the warrant to search Carman’s residence.

       This instant case is complex, and thus the government does not attempt to detail the

entirety of the evidence here. Rather, the government urges the Court to consider several points.

First, Carman is the only person with both the motive and opportunity to kill both John Chakalos

and Linda Carman. Prior to the murder of John Chakalos, Carman showed a keen interest in the

specifics of his grandfather’s trust. He sent Chakalos’ trust attorney a series of nineteen

questions about the trust, which began as follows:

               My interest is in learning what the trust(s) means to me now and
               what it could or will mean to me in the future. In order to satisfy this
               interest I will ask questions each of which will fall into one of three
               categories, the organizational structure of the trust(s), what the
               trust(s) mean(s) to me now, and how that meaning will change if or
               when certain scenarios present themselves in the future. After asking
               each question I will give you a chance to respond. Now for my first
               question.

       As to the murder of John Chakalos, Carman was the last person to see Chakalos alive; he

was one of the few people who had a key to Chakalos’ home; and he was one of the few people

who knew that Chakalos would be alone the night he was murdered. Further, Carman purchased

a rifle of the same caliber used to murder Chakalos just six weeks prior to the killing, then lied

about his involvement with the weapon. Moreover, shortly after Chakalos’ death, Carman was

overhead asking God for forgiveness.

       Additionally, Carman’s story regarding the circumstances of Linda Carman’s death is

demonstrably false. Expert drift analysis disproves his account of his time at sea, and shows that

his life raft could not have ended up in the location where he was discovered had his boat sank at

the time and location he claims. Other aspects of Carman’s story simply don’t make sense:

during interviews Carman described little interaction with or reaction from his mother during the

                                                  6
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 7 of 12




several minutes the boat was sinking, and he provided no reasonable explanation for why he

failed to utilize his radio or emergency beacon. Carman’s physical condition was also

inconsistent with someone who had been at sea for an extended period of time, and a naval

architect refutes Carman’s story about the manner in which his boat sank. Significantly, Carman

discarded his computer hard drive and GPS unit around the time of the murder of John Chakalos,

and again discarded his computer hard drive around the time of the murder of Linda Carman.

The evidence of Carman’s guilt is compelling, and the Court should find that the weight of the

evidence favors detention.

       III.    Carman Poses a Danger to Others

       A finding of dangerousness must be supported by clear and convincing evidence. See,

e.g., United States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995); Patriarca, 948 F.2d at 792;

Chimurenga, 760 F.2d at 405. Carman’s offenses involve two murders. He is alleged to have

carefully planned the killing of the two people closest to him in order to financially benefit from

their deaths. He has demonstrated an ability to obtain and use firearms. He also has a significant

motive to kill to secure his liberty, or to retaliate against those who he believes put him in

criminal jeopardy or are undermining his scheme. These facts establish by clear and convincing

evidence that Carman poses a danger to others. The government notes that two of Carman’s

aunts have signed a letter on behalf of the Chakalos family detailing their fear of Carman’s

potential release. Carman’s murder of two of their family members demonstrates that their fears

are well-founded.

       In his attempt to claim he is not a danger, Carman again relies on mistaken assertions.

He characterizes his history of involvement with firearms as “incredibly limited, at best.”

Preliminarily, even limited involvement with firearms can demonstrate dangerousness. Indeed,



                                                  7
           Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 8 of 12




Carman’s discharge of just two bullets had fatal consequences for John Chakalos. Nevertheless,

Carman’s involvement with firearms – including rifles, shotguns, and handguns – is far from

limited.

       In 2014, law enforcement found handwritten notes in Carman’s residence pertaining to

“sniper rifles.” More specifically, the notes related to “sniper rifles on an aerial video stabilizing

platform and camera with facial recognition data machines.” The notes also contained details

about constructing self-propelled improvised explosive devices. Investigators additionally

observed evidence of experimentation with electrical circuitry on Carman’s kitchen table.

Around this same time, Carman also possessed at least two different shotguns. Thereafter, in

2015, Carman enrolled in a handgun training course. Notably, Carman enrolled in a 102-level

course that required prior knowledge of how to load and fire a handgun, as well as the

completion of a 101-level course. Finally, records suggest that just eight days before his final

“fishing trip” with his mother, Carman was engaged in a transaction involving AR-15

accessories bearing the same unique “dark earth” color as the rifle Carman used to kill his

grandfather. Notwithstanding numerous questions posed to Carman about the whereabouts of

the Sig Sauer assault rifle he purchased, the rifle remains unaccounted for, and Carman’s

potential access to it poses a grave danger.

       Carman also states that he “had a good relationship with his mother” and indicates that he

“[h]ad all he could want, and more, in terms of financial support.” To the contrary, Carman’s

relationship with his mother was anything but normal. Witnesses make clear that Linda Carman

only saw her son sporadically. Moreover, by the time of Linda Carman’s death, Nathan Carman

had spent nearly all of the money he had received after the killing of his grandfather. He needed

a new source of funds, and Linda Carman was unwilling to provide her son with financial



                                                  8
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 9 of 12




support. In fact, before her death, Linda Carman changed her will to remove Nathan Carman as

a beneficiary. Then, in 2016, John Chakalos’ daughters discussued the dissolution of the

Chakalos Family Dynasty Trust. Because Carman was no longer the beneficiary of his mother’s

estate, the dissolution of the Dynasty Trust would have resulted in him losing the “guarantee”

that he would be the eventual beneficiary of one quarter of his grandfather’s wealth.

       Carman incorrectly states that a federal court in Rhode Island “already considered” the

argument that he sunk his boat to kill his mother. In fact, that court’s findings of fact – attached

to Carman’s motion – states, “To be clear, the Court is making no determination of whether Mr.

Carman intended to sink his boat or harm his mother.” Doc. 27, Ex. 5. Carman’s statement that

“at least one federal grand jury declined to indict him” is also untrue. To the contrary, the only

federal grand jury to have considered an indictment in this matter in fact returned the instant

charges against Carman.

       Carman’s motion includes several other statements refuted by the evidence. He indicates

that his “whereabouts were accounted for” at the time of John Chakalos’ murder. However,

Carman’s whereabouts are unaccounted for during a one-hour period when he indicates he was

“lost” on his way from his apartment to meet his mother. Carman says other suspects in the

murder of John Chakalos include “other family members,” but he neglects to mention that he is

the only family member who refused to submit to a polygraph examination. In any event,

Carman cannot claim that any other family member killed his mother. The inescapable

conclusion to be drawn from this clear and convincing evidence is that Carman poses a danger.

       III.    Carman’s Mental Health

       Carman attempts to downplay the significance of his mental health history. The

government noted in its initial motion for detention that Carman presents with a serious



                                                  9
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 10 of 12




childhood history of mental health issues, that he lacks any serious diagnosis of his mental

conditions as an adult, and that he has avoided mental health treatment. Carman counters with

the claim that he suffers only from Autistism Spectrum Disorder. To the contrary, mental health

records are replete with treatment statements about the lack of a clear diagnosis before Carman

stopped seeing mental health professionals. Further, it is uncontested that he has received no

recent diagnosis or treatment as an adult. Carman has been evaluated twice for involuntary

commitment, once in 2011 and again in 2014, but neither evaluation involved the kinds of tests

and analysis necessary for a firm diagnosis. Most significantly, neither evaluation provides

assurances for the Court that temper the risk of flight and danger to those involved with the

instant case.

       Carman states that in 2011, when he was ordered evaluated for the first time, he was “not

deemed to need inpatient treatment, nor was he ordered to take any medications.” Doc. 27, at *7.

However, a consulting physician “strongly recommend[ed]” inpatient treatment, and indicated

that he “strongly believe[d] that there is some kind of psychotic phenomenon going on.”

Records also state, “Given poor insight and compromised judgment following significant decline

in functioning, inpatient level of care to be sought.” In 2014, when Carman was ordered

evaluated again, the same doctor wrote, “[Carman] does not feel he needs to be an inpatient. I

discussed several options including extended stay for observation and monitoring, but he is

refusing.” The doctor nonetheless recommended “outpatient psychiatric follow up,” but it does

not appear that Carman actually complied with this recommendation.

       Carman also refused doctors’ attempts to prescribe medication. A discharge summary

describes a decision “that mediciation would not be pushed on patient at the time, though if he

was not going to be taking medication, he needed to be participating in the rest of treatment.”



                                                10
         Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 11 of 12




Carman again appears not to have complied. Carman’s motion suggests that he was medicated

only for “common conditions such as ADHD, depression, and anxiety.” In fact, he was also

treated with an antipsychotic medication often used to treat schizophrenia and bipolar disorder

before he discontinued medication altogether. In spite of serious and continuing questions about

his mental health, Carman has simply refused treatment by professionals.

       A more recent assessment of Carman’s mental health comes from one of his neighbors.

During an interview with law enforcement, Carman’s neighbor described personal familiarity

with mental illness by virtue of two family members diagnosed with schizophrenia. Carman’s

neighbor described Carman as “mentally unhealthy” and indicated that Carman is “worse” than

both of the neighbor’s schitzophrenic relatives. Carman’s neighbor also described observing

Carman throwing what the neighbor believed was human excrement into Carman’s yard.

Relatedly, during the execution of a search warrant following Carman’s arrest, investigators also

observed the insalubrious condition of Carman’s home, including what appeared to be maggots

in Carman’s refrigerator.

       IV.     Carman’s Proposed Condition of Release

       Carman spends the bulk of his motion seeking to counter the government’s argument that

he poses a risk of flight and a danger to others. He makes little attempt to argue that, if the Court

finds that the government has proven these risks, the Court can be assured that the risks can be

mitigated by conditions of release. Carman’s only meaningful proposal appears to be that the

Court could order the Probation Office to conduct electronic monitoring of Carman. The Court

should conclude that such monitoring cannot sufficiently mitigate either risk. To begin with,

location monitoring in rural Vermont often faces serious technological difficulties. But even if it

worked, electronic monitoring could not assure the Court that Carman would not flee. Carman



                                                 11
        Case 5:22-cr-00049-gwc Document 30 Filed 07/22/22 Page 12 of 12




has the wherewithal to remove a monitoring device and flee before anyone could determine

where he has gone. An international border is mere hours from Carman’s Vernon home. Most

importantly, electronic monitoring does nothing to prevent Carman from retaliating against a

witness or others as he flees. The Court should therefore conclude that there are no conditions of

release which would reasonably assure Carman’s appearance and the safety of the community.

                                         CONCLUSION

       For the reasons set forth above, the government asks the court to order Carman’s

continued detention pending trial.


       Dated at Burlington, in the District of Vermont, July 22, 2022.


                                                            Respectfully submitted,

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                                                            United States Attorney


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                                               12
